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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION
                            CASE NO. 6:25-cv-163

JONATHAN DRUMMOND,

       Plaintiff,

vs.

I LOVE SUGAR, INC.; and

I LOVE SUGAR DAYTONA, LLC,

      Defendants.
                                     /


                                     COMPLAINT

       Plaintiff JONATHAN DRUMMOND, by and through undersigned counsel,

sues Defendants I LOVE SUGAR, INC., a South Carolina for-profit corporation,

and I LOVE SUGAR DAYTONA, LLC, a Delaware Limited Liability Company,

and alleges as follows:

       1.     This is an action for declaratory and injunctive relief, attorney’s fees,

costs, and litigation expenses for unlawful disability discrimination in violation of

Title III of the Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”),

as amended, and 28 C.F.R. Part 36.

       2.     This Court has jurisdiction over this case based on federal question

jurisdiction, 28 U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks


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declaratory and injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

      3.     Venue is proper in this Court as all actions complained of herein and

injuries and damages suffered occurred in the Middle District of Florida.

      4.     Plaintiff JONATHAN DRUMMOND is a resident of Volusia County,

Florida, is sui juris, and is disabled as defined by the ADA and ADA Amendments

Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

      5.     Plaintiff is, and at all relevant times, has been blind and visually

disabled in that Plaintiff suffers from optical nerve atrophy as a result of

retinoblastoma, which is a permanent eye and medical condition that substantially

and significantly impairs his vision and limits his ability to see. Plaintiff thus is

substantially limited in performing one or more major life activities, including, but

not limited to, seeing, accurately visualizing his world, and adequately traversing

obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

§12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101,

et seq., and 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of

similarly situated disabled persons and is a “tester” for the purposes of asserting his

civil rights and monitoring, ensuring, and determining whether places of public

accommodation and/or their respective and associated websites are in compliance

with the ADA and any other applicable disability laws, regulations, and ordinances.

      6.     Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired, including 2.0 million who are blind.
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      7.     Because he is blind, Plaintiff cannot use his computer without the

assistance of appropriate and available auxiliary aids, screen reader software, and/or

other technology and assistance. Screen reader software translates the visual internet

into an auditory equivalent. At a rapid pace, the software reads the content of a

webpage to the user. “The screen reading software uses auditory cues to allow a

visually impaired user to effectively use websites. For example, when using the visual

internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

another webpage, through visual cues, such as a change in the color of the text (often

text is turned from black to blue). When the sighted user's cursor hovers over the link,

it changes from an arrow symbol to a hand. The screen reading software uses

auditory -- rather than visual -- cues to relay this same information. When a sight

impaired individual reaches a link that may be ‘clicked on,’ the software reads the

link to the user, and after reading the text of the link says the word

‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

visually impaired user can navigate a website by listening and responding with his

keyboard.” Andrews v. Blick Art Materials, LLC, 286 F.Supp.3d 365, 374

(E.D.N.Y.2017).

      8.     Defendant, I LOVE SUGAR, INC., is a South Carolina for-profit

corporation authorized to do business and doing business in the State of Florida.

Defendant owns, operates, and/or controls a chain of 4 U.S. based stores offering a

unique and immersive candy retail experience, including the store Plaintiff intended
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to patronize in the near future (and as early as January and/or early February 2025),

which is located at 1100 Cornerstone Boulevard, Suite 1055, Daytona Beach, FL

32117.

      9.     Defendant, I LOVE SUGAR DAYTONA, LLC, is a Delaware Limited

Liability Company authorized to do business and doing business in the State of

Florida. Defendant owns, operates, and/or controls a store offering a unique and

immersive candy retail experience, the store Plaintiff intended to patronize in the

near future (and as early as January and/or early February 2025), which is located at

1100 Cornerstone Boulevard, Suite 1055, Daytona Beach, FL 32117.

      10.    Plaintiff’s blindness limits Plaintiff in the performance of major life

activities, including sight, and Plaintiff requires assistive technologies, auxiliary

aids, and services for effective communication, including communication in

connection with his use of a computer.

      11.    Plaintiff frequently accesses the internet. Because Plaintiff is blind, to

effectively communicate and comprehend information available on the internet and

thereby access and comprehend websites, Plaintiff uses commercially available

screen reader software to interface with the various websites.

      12.    At all times material hereto, Defendants were and still are organizations

that own, operate, and/or control a chain of 4 U.S. based stores under the name “I

LOVE SUGAR”. Each “I LOVE SUGAR” store is open to the public. As the owners,

operators, and/or controllers of these stores, Defendants are defined as a place of
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“public accommodation” within the meaning of the ADA per 42 U.S.C §12181 and

28 C.F.R. §36.104.)

      13.    Because Defendants operate stores open to the public, each of

Defendants’ physical locations is a place of public accommodation subject to the

requirements of the ADA, 42 U.S.C. §12182, §12181(7), and its implementing

regulations, 28 C.F.R. Part 36.

      14.    Defendants also own, control, maintain, and/or operate an adjunct

website, https://www.ilovesugar.com / (the “Website”). One of the functions of the

website is to provide information about the store locations and contact details.

Additionally, it allows customers to browse and purchase a wide variety of sweets,

including giant gummy bears, novelty gummy candies shaped like pizzas, burgers,

and watermelons, curated candy boxes, cotton candies in creative flavors, as well as

exclusive plush toys inspired by gummy bears. The website also offers convenient

online shopping options, allowing customers to order online with home delivery

option, add items to wish list, track orders, save favorite products for quick

reordering, check gift card balances, and make reservations for the in-store Candy

Martini Bar. Customers can create accounts to benefit from a personalized shopping

experience, faster checkouts, and order history management, they can also explore

the vibrant photo gallery, which showcases the playful design of I LOVE SUGAR

stores. For career opportunities, the dedicated careers section provides information

about current openings and how to join the I LOVE SUGAR team. The website
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includes a comprehensive FAQ section, details about shipping and return policies,

and a contact form for inquiries. Finally, visitors are encouraged to connect with I

LOVE SUGAR on social media or subscribe to the e-newsletter to stay updated on

news, promotions, product launches, and community updates.

      15.    The Website also services Defendants’ physical stores by providing

information about locations, available products, services, tips and advice, editorials,

sales campaigns, events, and other information that Defendants are interested in

communicating to their customers.

      16.    Because the Website allows the public the ability to secure information

about the locations of Defendants’ physical stores, browse and purchase a wide

variety of sweets and toys, order online with a home delivery option, add items to

wish list, track orders, save favorite products for quick reordering, check gift card

balances, make reservations for the in-store Candy Martini Bar, create accounts to

benefit from a personalized shopping experience, faster checkouts, and order history

management, explore the vibrant photo gallery showcasing the playful design of I

LOVE SUGAR stores, view career opportunities through a dedicated section that

offers information about current openings and how to join the I LOVE SUGAR

team, read FAQ section, learn details about shipping and return policies, contact the

company for inquiries via an online form, connect with I LOVE SUGAR on social

media or subscribe to the e-newsletter to stay updated on news, promotions, product

launches, and community updates, the Website has a nexus to, and is an extension
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of and gateway to, the goods, services, privileges, and advantages of Defendants’

physical stores, which are places of public accommodation under the ADA. As an

extension of and service, privilege, and advantage provided by a place of public

accommodation as defined under the ADA, the Website is an extension of the

services, privileges, and advantages made available to the general public by

Defendants at and through their brick-and-mortar stores and businesses.

Furthermore, the Website is a necessary service and privilege of Defendants’

physical stores in that, it acts as a critical point of sale for the stores, it enables users

of the Website to make purchases of Defendants’ merchandise that is also available

for purchase in, from, and through their physical stores.

       17.    Because the public can browse and purchase a wide variety of sweets,

including giant gummy bears, novelty gummy candies shaped like pizzas, burgers,

and watermelons, cotton candies in creative flavors, as well as exclusive plush toys

inspired by gummy bears, order online with a home delivery option, add items to

wish list, track orders, save favorite products for quick reordering, check gift card

balances, make reservations for the in-store Candy Martini Bar, create accounts to

benefit from a personalized shopping experience, faster checkouts, and order history

management, explore the vibrant photo gallery showcasing the playful design of I

LOVE SUGAR stores, view career opportunities through a dedicated section

offering information about current openings and how to join the I LOVE SUGAR

team, read FAQ section, learn details about shipping and return policies, contact the
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company for inquiries via an online form, connect with I LOVE SUGAR on social

media or subscribe to the e-newsletter to stay updated on news, promotions, product

launches, and community updates, the Website is an extension of, and gateway to the

physical stores, which are places of public accommodation pursuant to the ADA, 42

U.S.C. §12181(7)(E). As such, the Website is a necessary service, privilege, and

advantage of Defendants’ brick-and-mortar stores that must comply with all

requirements of the ADA, must not discriminate against individuals with visual

disabilities, and must not deny those individuals the same full and equal access to

and enjoyment of the goods, services, privileges, and advantages afforded the non-

visually disabled public both online and in the physical stores.

       18.   At all times material hereto, Defendants were and still are organizations

owning, operating, and/or controlling the Website. Since the Website is open to

the public through the internet, by this nexus the Website is an intangible service,

privilege, and advantage of Defendants’ brick-and-mortar stores that must comply

with all requirements of the ADA, must not discriminate against individuals with

visual disabilities, and must not deny those individuals the same full and equal access

to and enjoyment of the goods, services, privileges, and advantages as are afforded

the non-visually disabled public both online and in the physical stores. As such,

Defendants have subjected themselves and the Website to the requirements of the

ADA.

       19.   Plaintiff is and/or has been a customer who is interested in patronizing,
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and intends to patronize in the near future once the Website’s access barriers are

removed or remedied (and as early as January and/or early February 2025),

Defendants’ physical store located at 1100 Cornerstone Boulevard, Suite 1055,

Daytona Beach, FL 32117, and to search for brick-and-mortar stores that are in

closest proximity to Plaintiff, browse and purchase a wide variety of sweets and toys,

order online with a home delivery option, add items to wish list, track orders, save

favorite products for quick reordering, make reservations for the in-store Candy

Martini Bar, create personal account to benefit from a personalized shopping

experience, faster checkouts, and order history management, explore the vibrant

photo gallery showcasing the playful design of I LOVE SUGAR stores, read FAQ

section, learn details about shipping and return policies, contact the company for

inquiries via an online form, connect with I LOVE SUGAR on social media or

subscribe to the e-newsletter to stay updated on news, promotions, product launches,

and community updates. In the alternative, Plaintiff intends to monitor the Website

in the near future (and as early as January and/or early February 2025) as a tester to

ascertain whether it has been updated to interact properly with screen reader

software.

      20.    The opportunity to browse and purchase a wide variety of products,

including giant gummy bears, novelty gummy candies shaped like pizzas, burgers,

and watermelons, cotton candies in creative flavors, as well as exclusive plush toys

inspired by gummy bears and curated candy boxes, order online with a home
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 delivery option, add items to wish list, track orders, save favorite products for quick

 reordering, check gift card balances, make reservations for the in-store Candy

 Martini Bar, create accounts to benefit from a personalized shopping experience,

 faster checkouts, and order history management, explore the vibrant photo gallery

 showcasing the playful design of I LOVE SUGAR stores, view career opportunities

 through a dedicated section that offering information about current openings and

 how to join the I LOVE SUGAR team, read FAQ section, details about shipping and

 return policies, contact the company for inquiries via an online form, connect with I

 LOVE SUGAR on social media or subscribe to the e-newsletter to stay updated on

 news, promotions, product launches, and community updates from Plaintiff’s home

 are important and necessary accommodations for Plaintiff because traveling outside

 of Plaintiff’s home as a blind individual is often a difficult, hazardous, frightening,

 frustrating, and confusing experience. Defendants have not provided their business

 information in any other digital format that is accessible for use by blind and visually

 disabled individuals using screen reader software.

       21.    Like many consumers, Plaintiff accesses a number of websites at a time

 to help plan his store visits and to compare merchandise, prices, services, sales,

 discounts, and promotions. Plaintiff may look at several dozen websites to compare

 features, discounts, services, promotions, and prices.

       22.    Beginning in December 2024, Plaintiff attempted on a number of

 occasions to utilize the Website to browse through the services and merchandise to
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 educate himself as to the products, sales, services, discounts, and promotions being

 offered, learn about the brick-and- mortar stores, search for brick-and-mortar stores

 that are in closest proximity to Plaintiff, and check product pricing with the intent to

 make a purchase through the Website or in, from, and through the physical stores.

 Plaintiff also attempted to access and utilize the Website in his capacity as a tester to

 determine whether it was accessible to blind and visually disabled persons such as

 himself who use screen reader software to access and navigate company websites.

       23.    Plaintiff enjoys exploring various local candy shops and trying new,

 unique treats and flavors he had not tasted before. On or about December 26, 2024, the

 Plaintiff used an NVDA screen reader to search for local places that offer a wide range

 of creative candy options. Among the search results, he found I LOVE SUGAR’s

 website and decided to explore their offerings. However, upon accessing the site, the

 Plaintiff encountered multiple accessibility issues that made navigation difficult. One

 major issue was that the dialog box indicating that the product had been added to the

 cart did not receive focus after the Plaintiff decided to buy it, nor were any

 announcements to inform him about the successful action on the page. This lack of

 feedback left the Plaintiff confused and unsure about whether the giant gummy bear

 had been added to his cart, hindering his ability to complete the purchase. Ultimately,

 the Plaintiff was unable to finalize his order on I LOVE SUGAR’s website.

       24.     Plaintiff utilizes available screen reader software that allows

 individuals who are blind and visually disabled to communicate with websites.
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 However, Defendants’ Website contains access barriers that prevent free and full use

 by blind and visually disabled individuals using keyboards and available screen

 reader software. These barriers are pervasive and include, but are not limited to:

       a. “Skip to content” link was not implemented. Plaintiff was not provided with
       the mechanism to bypass repeated blocks of content;

       b. Landmarks were not properly inserted into the home page. Plaintiff tried to
       bypass Navigation menus and could not access “main” and “content info”
       regions of the page using landmarks;

       c. The content on the home page was organized into sections with headings,
       but they were not correctly marked up and did not programmatically identify
       sections of the page. Plaintiff was deprived of the actual heading structure that
       was available to sighted customers and could not effectively navigate the
       content on the home page;

       d. Plaintiff could not access sub-menu elements from the Navigation menu
       using the keyboard. Plaintiff tried to use “tab” or “arrow” keys to no avail.
       The website had functionality that was dependent on the specific devices such
       as a mouse, and was not available to the legally blind users;

       e. The Navigation menu contained elements with drop-down menu, and they
       did not announce their state - “collapsed” or “expanded”. As a result, Plaintiff
       was unaware of the additional links that he might have accessed;

       f. Unclear and ambiguous labels for form fields, specifically, the “search”
       field, impeded Plaintiff from using search functionality of the website for a
       quick and efficient navigation. Plaintiff was unaware of the purpose of the
       interactive element as the name of the element was announced as “edit blank”;

       g. Interactive elements (Search button, Continue as Guest button) on the web
       page had poor and non-descriptive name. Plaintiff could not identify the
       purpose of the interactive element;

       h. Plaintiff was forced to repeatedly tab through elements with the same
       destination: the link text of products conveyed similar information and led to
       the same destinations as interactive images above the links;

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       i. Several links had ambiguous texts, for example “previous” and “next” links
       from the Product Detail page, that were unclear to Plaintiff. Lack of detailed
       description of the link target and destination made it difficult for Plaintiff to
       perceive the purpose of the link;

       j. Interactive elements (Next, Previous) from the product gallery on the
       Product Detail page that behaved as "buttons" were not programmatically
       written correctly. Instead of using a "role" attribute, they were built by <a>
       tag. As a result, the screen reader software read the incorrectly constructed
       element and Plaintiff was confused, because of receiving ambiguous
       information about the element in focus;

       k. Multiple images on the Product Detail page had no alternative text. Plaintiff
       was unaware what non-text content was presented on the page and what
       information was missed;

       l. Interactive element (drop-down menu) on the Product Detail page was not
       keyboard focusable. The website had functionality that was dependent on
       specific devices such as the mouse, and was not accessible to Plaintiff;

       m.Plaintiff attempted to purchase the product and as a result, the confirmation
       dialog box opened, but the focus did not move from trigger button to dialog
       items. Plaintiff was confused when he was unable to navigate through the
       content with the keyboard;

       n. In an attempt to add the selected item to cart, a confirmation message
       appeared on the page but its content was not announced by the screen reader
       software. Plaintiff was not informed whether the product was successfully
       added to cart and he could proceed to Checkout;

       o. After adding the selected item to the Cart, it did not announce its value
       information. Thus, Plaintiff did not know whether his selection was successful
       and how many items were placed in the Cart;

       p. Plaintiff was unable to determine if the form fields at Checkout were
       mandatory (“Required”). The lack of detailed instructions while filling in the
       form, prevented Plaintiff from successful submission of personal information.

       25.   Accordingly, Defendants’ Website was incompatible with Plaintiff’s

 screen reading software and keyboard.
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       26.    The fact that Plaintiff could not communicate with or within the

 Website left Plaintiff feeling excluded, frustrated, and humiliated, and gave Plaintiff

 a sense of isolation and segregation, as Plaintiff is unable to participate in the same

 shopping experience, with the same access to the merchandise, sales, services,

 discounts, as provided at the Website and in the physical stores as the non-visually

 disabled public.

       27.    Plaintiff desires and intends, in the near future once the Website’s

 access barriers are removed or remedied, to patronize Defendants’ physical store

 located at 1100 Cornerstone Boulevard, Suite 1055, Daytona Beach, FL 32117, and

 to use the Website, but Plaintiff is presently unable to do so as Plaintiff is unable to

 effectively communicate with Defendants due to Plaintiff’s blindness and the

 Website’s access barriers. Alternatively, as a tester using screen reader software,

 Plaintiff is unable to effectively access, navigate, and communicate with Defendants

 through the Website due to Plaintiff’s blindness and the Website’s access barriers.

 Thus, Plaintiff and others who are blind and with visual disabilities will suffer

 continuous and ongoing harm from Defendants’ intentional acts, omissions, policies,

 and practices as set forth herein unless properly enjoined by this Court.

       28.    Because of the nexus between Defendants’ physical stores and the

 Website, and the fact that the Website clearly provides support for and is connected

 to Defendants’ physical stores for its operation and use, the Website is an intangible

 service, privilege, and advantage of Defendants’ brick-and-mortar stores that must
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 comply with all requirements of the ADA, must not discriminate against individuals

 with disabilities, and must not deny those individuals the same full and equal access

 to and enjoyment of the goods, services, privileges, and advantages as afforded the

 non-visually disabled public both online and in the physical stores, which are places

 of public accommodation subject to the requirements of the ADA.

        29.      On information and belief, Defendants have not initiated a Web

 Accessibility Policy to ensure full and equal use of the Website by individuals with

 disabilities.

        30.      On information and belief, Defendants have not instituted a Web

 Accessibility Committee to ensure full and equal use of Website by individuals with

 disabilities.

        31.      On information and belief, Defendants have not designated an

 employee as a Web Accessibility Coordinator to ensure full and equal use of the

 Website by individuals with disabilities.

        32.      On information and belief, Defendants have not instituted a Web

 Accessibility User Accessibility Testing Group to ensure full and equal use of the

 Website by individuals with disabilities.

        33.      On information and belief, Defendants have not instituted a User

 Accessibility Testing Group to ensure full and equal use of the Website by

 individuals with disabilities

        34.      On information and belief, Defendants have not instituted a Bug Fix
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 Priority Policy.

       35.    On information and belief, Defendants have not instituted an

 Automated Web Accessibility Testing program.

       36.    Defendants have not created and instituted a useful and effective

 Specialized Customer Assistance line or service or email contact mode for customer

 assistance for the visually disabled.

       37.    Defendants have not created and instituted on the Website a useful and

 effective page for individuals with disabilities, nor displayed a proper link and

 information hotline, nor created a proper information portal explaining when and how

 Defendants will have the Website, applications, and digital assets accessible to the

 visually disabled and/or blind communities.

       38.    The Website does not meet the Web Content Accessibility Guidelines

 (“WCAG”) 2.2 Level AA or higher versions of web accessibility.

       39.    Defendants have not disclosed to the public any intended audits,

 changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

 individuals who want the safety and privacy of purchasing Defendants’ merchandise

 offered on the Website and in the physical stores from their homes.

       40.    Defendants thus have not provided full and equal access to, and

 enjoyment of, the goods, services, facilities, privileges, advantages, and

 accommodations provided by and through the Website and the physical stores in

 contravention of the ADA.
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       41.    Public accommodations under the ADA must ensure that their places

 of public accommodation provide effective communication for all members of the

 general public, including individuals with visual disabilities such as Plaintiff.

       42.    The broad mandate of the ADA is to provide equal opportunity for

 individuals with disabilities to participate in and benefit from all aspects of American

 civic and economic life. That mandate extends to internet e-commerce websites such

 as the Website at issue in the instant action.

       43.    Defendants are, and at all relevant times have been, aware of the

 barriers to effective communication within the Website which prevent individuals

 with visual disabilities from the means to comprehend information presented therein.

       44.    Defendants are, and at all relevant times have been, aware of the need

 to provide full and equal access to all visitors to the Website.

       45.    The barriers that exist on the Website result in discriminatory and

 unequal treatment of individuals with visual disabilities, including Plaintiff.

       46.    Plaintiff has no plain, adequate, or complete remedy at law to redress

 the wrongs alleged hereinabove, and this suit for declaratory judgment and injunctive

 relief is his only means to secure adequate and complete redress from Defendants’

 unlawful and discriminatory practices in connection with the Website’s access and

 operation.

       47.    Notice to Defendants is not required because of Defendants’ failure to

 cure the violations.
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       48.    Enforcement of Plaintiff’s rights under the ADA is right and just

 pursuant to 28 U.S.C. §§2201 and 2202.

       49.    Plaintiff has retained the undersigned attorneys to represent him in this

 case and has agreed to pay them a reasonable fee for their services.



                     COUNT I – VIOLATION OF THE ADA

                         AGAINST I LOVE SUGAR, INC.

       50.    Plaintiff re-alleges paragraphs 1 through 49 as if set forth fully herein.

       51.    Pursuant to 42 U.S.C. §12181(7), Defendant, I LOVE SUGAR, INC.,

 is a public accommodation under the ADA and thus is subject to the ADA.

       52.    Pursuant to 42 U.S.C. §12181(7), the Website is covered under the

 ADA because it provides the general public with the ability to locate and learn about

 Defendant, I LOVE SUGAR, INC.’s physical stores, browse and purchase a wide

 variety of products, including giant gummy bears, novelty gummy candies shaped

 like pizzas, burgers, and watermelons, cotton candies in creative flavors, exclusive

 plush toys inspired by gummy bears and curated candy boxes, order online with a

 home delivery option, add items to wish list, track orders, save favorite products for

 quick reordering, check gift card balances, make reservations for the in-store Candy

 Martini Bar, create accounts to benefit from a personalized shopping experience,

 faster checkouts, and order history management, explore the vibrant photo gallery

 showcasing the playful design of I LOVE SUGAR, INC. stores, view career
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 opportunities through a dedicated section offering information about current

 openings and how to join the I LOVE SUGAR, INC. team, read FAQ section, details

 about shipping and return policies, contact the company for inquiries via an online

 form, connect with I LOVE SUGAR, INC. on social media or subscribe to the e-

 newsletter to stay updated on news, promotions, product launches, and community

 updates. The Website thus is an extension of, gateway to, and intangible service,

 privilege, and advantage of Defendant, I LOVE SUGAR, INC.’s physical stores.

 Further, the Website serves to augment Defendant, I LOVE SUGAR, INC.’s,

 physical locations by providing the public information about the stores and by

 educating the public as to Defendant, I LOVE SUGAR, INC.’s available

 merchandise sold through the Website and in, from, and through the physical stores.

       53.    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is

 unlawful discrimination to deny individuals with disabilities or a class of individuals

 with disabilities an opportunity to participate in or benefit from the goods, services,

 facilities, privileges, advantages, or accommodation, which is equal to the

 opportunities afforded to other individuals.

       54.    Specifically,   under    Title    III   of   the   ADA,      42   U.S.C.

 §12182(b)(2)(A)(II), unlawful discrimination includes, among other things, “a

 failure to make reasonable modifications in policies, practices, or procedures, when

 such modifications are necessary to afford such goods, services, facilities,

 privileges, advantages, or accommodations to individuals with disabilities, unless
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 the entity can demonstrate that making such modifications would fundamentally

 alter the nature of such goods, services, facilities, privileges, advantages or

 accommodations.”

       55.    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III),

 unlawful discrimination includes, among other things, “a failure to take such steps,

 as may be necessary to ensure that no individual with a disability is excluded, denied

 services, segregated or otherwise treated differently than other individuals because

 of the absence of auxiliary aids and services, unless the entity can demonstrate that

 taking such steps would fundamentally alter the nature of the good, service, facility,

 privilege, advantage, or accommodation being offered or would result in an undue

 burden.”

       56.    Defendant, I LOVE SUGAR, INC.’s Website must comply with the

 ADA, but it does not as specifically alleged hereinabove and below.

       57.    Because of the inaccessibility of the Website, individuals with visual

 disabilities are denied full and equal access to, and enjoyment of, the goods,

 information, and services that Defendant, I LOVE SUGAR, INC., has made

 available to the public on the Website and in the physical stores in violation of 42

 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

       58.    More violations may be present on other pages of the Website, which

 can and will be determined and proven through the discovery process in this case.

       59.    Further, the Website does not offer or include the universal symbol for
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 the disabled that would permit disabled individuals to access the Website’s

 accessibility information and accessibility facts.

       60.    There are readily available, well-established guidelines on the internet

 for making websites accessible to the blind and visually disabled. These guidelines

 have been followed by other large business entities in making their websites

 accessible. Examples of such guidelines include, but are not limited to, accurately

 labeling interactive elements, implementing navigation links, and providing advance

 warnings for content changes. Incorporating such basic components to make the

 Website accessible would neither fundamentally alter the nature of Defendant, I

 LOVE SUGAR, INC.’s business nor would it result in an undue burden to

 Defendant, I LOVE SUGAR, INC.

       61.    Defendant, I LOVE SUGAR, INC., has violated the ADA -- and

 continues to violate the ADA -- by denying access to the Website by individuals such

 as Plaintiff with visual disabilities who require the assistance of screen reader

 software to comprehend and access internet websites. Defendant, I LOVE SUGAR,

 INC., has failed to take any prompt and equitable steps to remedy its discriminatory

 conduct. These violations within the Website are ongoing.

       62.    The ADA requires that public accommodations and places of public

 accommodation ensure that communication is effective.

       63.    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services

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 include “voice, text, and video-based telecommunications products and systems”.

 Indeed, 28 C.F.R. §36.303(b)(2) specifically states that screen reader software is an

 effective method of making visually delivered material available to individuals who

 are blind or have low vision.

       64.    According to 28 C.F.R. §36.303(c), public accommodations must

 furnish appropriate auxiliary aids and services where necessary to ensure effective

 communication with individuals with disabilities: “In order to be effective, auxiliary

 aids and services must be provided in accessible formats, in a timely manner, and in

 such a way as to protect the privacy and independence of the individual with a

 disability,” 28 C.F.R. §36.303(c)(1)(ii).

       65.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to

 effectuate subtitle A of Title III of the ADA, which prohibits discrimination on the

 basis of disability by public accommodations, and requires places of public

 accommodation to be designed, constructed, and altered in compliance with the

 accessibility standards established by Part 36.

       66.    As alleged hereinabove, the Website has not been designed to interface

 with the widely and readily available technologies that can be used to ensure

 effective communication and thus violates the ADA.

       67.    As a direct and proximate result of Defendant, I LOVE SUGAR, INC.’s

 failure to provide an ADA compliant Website, with a nexus to its brick-and-mortar

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 stores, Plaintiff has suffered an injury in fact by being denied full and equal access

 to, enjoyment of, and communication with Defendant, I LOVE SUGAR, INC.’s

 Website and its physical stores.

       68.    Because of the inadequate development and administration of the

 Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28

 C.F.R. §36.303, to remedy the ongoing disability discrimination.

       69.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

 grant Plaintiff appropriate and necessary injunctive relief, including an order to:

       a) Require Defendant, I LOVE SUGAR, INC., to adopt and implement a web

 accessibility policy to make publicly available, and directly link from the homepage

 of the Website, a functional statement of the Defendant, I LOVE SUGAR, INC.’s

 policy to ensure persons with disabilities have full and equal access to and enjoyment

 of the goods, services, facilities, privileges, advantages, and accommodations of the

 physical stores through the Website.

       b) Require Defendant, I LOVE SUGAR, INC., to take the necessary steps to

 make the Website readily accessible to and usable by blind and visually disabled

 users, and during that time period prior to the Website being made readily accessible,

 provide an alternative method for individuals with visual disabilities to access the

 information available on the Website until such time that the requisite modifications

 are made, and

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       c) Require Defendant, I LOVE SUGAR, INC., to provide the appropriate

 auxiliary aids such that individuals with visual disabilities will be able to effectively

 communicate with the Website for purposes of viewing and locating Defendant, I

 LOVE SUGAR, INC.’s physical stores and becoming informed of and purchasing

 Defendant, I LOVE SUGAR, INC.’s products, and during that time period prior

 to the Website being designed to permit individuals with visual disabilities to

 effectively communicate, to provide an alternative method for individuals with

 visual disabilities to effectively communicate for such goods and services made

 available to the general public through the Website and in the physical stores.

       70.    Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and

 expenses pursuant to the ADA. To that end, Plaintiff has been obligated to retain the

 undersigned counsel for the filing and prosecution of this action and has agreed to

 pay them a reasonable fee for their services.

                     COUNT II – VIOLATION OF THE ADA

                   AGAINST I LOVE SUGAR DAYTONA, LLC

       71.    Plaintiff re-alleges paragraphs 1 through 49 as if set forth fully herein.

       72.    Pursuant to 42 U.S.C. §12181(7), Defendant, I LOVE SUGAR

 DAYTONA, LLC, is a public accommodation under the ADA and thus is subject to

 the ADA.

       73.    Pursuant to 42 U.S.C. §12181(7), the Website is covered under the


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 ADA because it provides the general public with the ability to locate and learn about

 Defendant, I LOVE SUGAR DAYTONA, LLC’s physical store, browse and

 purchase a wide variety of products, including giant gummy bears, novelty gummy

 candies shaped like pizzas, burgers, and watermelons, cotton candies in creative

 flavors, exclusive plush toys inspired by gummy bears and curated candy boxes,

 order online with a home delivery option, add items to wish list, track orders, save

 favorite products for quick reordering, check gift card balances, make reservations

 for the in-store Candy Martini Bar, create accounts to benefit from a personalized

 shopping experience, faster checkouts, and order history management, explore the

 vibrant photo gallery showcasing the playful design of I LOVE SUGAR

 DAYTONA, LLC store, view career opportunities through a dedicated section

 offering information about current openings and how to join the I LOVE SUGAR

 DAYTONA, LLC team, read FAQ section, details about shipping and return

 policies, contact the company for inquiries via an online form, connect with I LOVE

 SUGAR DAYTONA, LLC on social media or subscribe to the e-newsletter to stay

 updated on news, promotions, product launches, and community updates. The

 Website thus is an extension of, gateway to, and intangible service, privilege, and

 advantage of Defendant, I LOVE SUGAR DAYTONA, LLC’s physical store.

 Further, the Website serves to augment Defendant, I LOVE SUGAR DAYTONA,

 LLC’s, physical location by providing the public information about the store and by

 educating the public as to Defendant, I LOVE SUGAR DAYTONA, LLC’s available
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 merchandise sold through the Website and in, from, and through the physical store.

       74.    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is

 unlawful discrimination to deny individuals with disabilities or a class of individuals

 with disabilities an opportunity to participate in or benefit from the goods, services,

 facilities, privileges, advantages, or accommodation, which is equal to the

 opportunities afforded to other individuals.

       75.    Specifically,   under    Title    III   of   the   ADA,      42   U.S.C.

 §12182(b)(2)(A)(II), unlawful discrimination includes, among other things, “a

 failure to make reasonable modifications in policies, practices, or procedures, when

 such modifications are necessary to afford such goods, services, facilities,

 privileges, advantages, or accommodations to individuals with disabilities, unless

 the entity can demonstrate that making such modifications would fundamentally

 alter the nature of such goods, services, facilities, privileges, advantages or

 accommodations.”

       76.    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III),

 unlawful discrimination includes, among other things, “a failure to take such steps,

 as may be necessary to ensure that no individual with a disability is excluded, denied

 services, segregated or otherwise treated differently than other individuals because

 of the absence of auxiliary aids and services, unless the entity can demonstrate that

 taking such steps would fundamentally alter the nature of the good, service, facility,

 privilege, advantage, or accommodation being offered or would result in an undue
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 burden.”

       77.    Defendant, I LOVE SUGAR DAYTONA, LLC’s Website must

 comply with the ADA, but it does not as specifically alleged hereinabove and below.

       78.    Because of the inaccessibility of the Website, individuals with visual

 disabilities are denied full and equal access to, and enjoyment of, the goods,

 information, and services that Defendant, I LOVE SUGAR DAYTONA, LLC, has

 made available to the public on the Website and in the physical store in violation of

 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

       79.    More violations may be present on other pages of the Website, which

 can and will be determined and proven through the discovery process in this case.

       80.    Further, the Website does not offer or include the universal symbol for

 the disabled that would permit disabled individuals to access the Website’s

 accessibility information and accessibility facts.

       81.    There are readily available, well-established guidelines on the internet

 for making websites accessible to the blind and visually disabled. These guidelines

 have been followed by other large business entities in making their websites

 accessible. Examples of such guidelines include, but are not limited to, accurately

 labeling interactive elements, implementing navigation links, and providing advance

 warnings for content changes. Incorporating such basic components to make the

 Website accessible would neither fundamentally alter the nature of Defendant, I

 LOVE SUGAR DAYTONA, LLC’s business nor would it result in an undue burden
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 to Defendant, I LOVE SUGAR DAYTONA, LLC.

       82.    Defendant, I LOVE SUGAR DAYTONA, LLC, has violated the ADA

 -- and continues to violate the ADA -- by denying access to the Website by

 individuals such as Plaintiff with visual disabilities who require the assistance of

 screen reader software to comprehend and access internet websites. Defendant, I

 LOVE SUGAR DAYTONA, LLC, has failed to take any prompt and equitable steps

 to remedy its discriminatory conduct. These violations within the Website are

 ongoing.

       83.    The ADA requires that public accommodations and places of public

 accommodation ensure that communication is effective.

       84.    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services

 include “voice, text, and video-based telecommunications products and systems”.

 Indeed, 28 C.F.R. §36.303(b)(2) specifically states that screen reader software is an

 effective method of making visually delivered material available to individuals who

 are blind or have low vision.

       85.    According to 28 C.F.R. §36.303(c), public accommodations must

 furnish appropriate auxiliary aids and services where necessary to ensure effective

 communication with individuals with disabilities: “In order to be effective, auxiliary

 aids and services must be provided in accessible formats, in a timely manner, and in

 such a way as to protect the privacy and independence of the individual with a

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 disability,” 28 C.F.R. §36.303(c)(1)(ii).

       86.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to

 effectuate subtitle A of Title III of the ADA, which prohibits discrimination on the

 basis of disability by public accommodations, and requires places of public

 accommodation to be designed, constructed, and altered in compliance with the

 accessibility standards established by Part 36.

       87.    As alleged hereinabove, the Website has not been designed to interface

 with the widely and readily available technologies that can be used to ensure

 effective communication and thus violates the ADA.

       88.    As a direct and proximate result of Defendant, I LOVE SUGAR

 DAYTONA, LLC’s failure to provide an ADA compliant Website, with a nexus to

 its brick-and-mortar store, Plaintiff has suffered an injury in fact by being denied full

 and equal access to, enjoyment of, and communication with Defendant, I LOVE

 SUGAR DAYTONA, LLC’s Website and its physical store.

       89.    Because of the inadequate development and administration of the

 Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28

 C.F.R. §36.303, to remedy the ongoing disability discrimination.

       90.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

 grant Plaintiff appropriate and necessary injunctive relief, including an order to:

       d) Require Defendant, I LOVE SUGAR DAYTONA, LLC, to adopt and

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 implement a web accessibility policy to make publicly available, and directly link

 from the homepage of the Website, a functional statement of the Defendant, I LOVE

 SUGAR DAYTONA, LLC’s policy to ensure persons with disabilities have full and

 equal access to and enjoyment of the goods, services, facilities, privileges,

 advantages, and accommodations of the physical store through the Website.

       e) Require Defendant, I LOVE SUGAR DAYTONA, LLC, to take the

 necessary steps to make the Website readily accessible to and usable by blind and

 visually disabled users, and during that time period prior to the Website being made

 readily accessible, provide an alternative method for individuals with visual

 disabilities to access the information available on the Website until such time that

 the requisite modifications are made, and

       f) Require Defendant, I LOVE SUGAR DAYTONA, LLC, to provide the

 appropriate auxiliary aids such that individuals with visual disabilities will be able

 to effectively communicate with the Website for purposes of viewing and locating

 Defendant, I LOVE SUGAR DAYTONA, LLC’s physical store and becoming

 informed of and purchasing Defendant, I LOVE SUGAR DAYTONA, LLC’s

 products, and during that time period prior to the Website being designed to

 permit individuals with visual disabilities to effectively communicate, to provide an

 alternative method for individuals with visual disabilities to effectively

 communicate for such goods and services made available to the general public

 through the Website and in the physical store.
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       91.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and

 expenses pursuant to the ADA. To that end, Plaintiff has been obligated to retain the

 undersigned counsel for the filing and prosecution of this action and has agreed to

 pay them a reasonable fee for their services.



       WHEREFORE, Plaintiff requests entry of judgment in his favor and against

 Defendants for the following relief:

       A. A declaration that Defendants’ Website is in violation of the ADA;

       B. An Order requiring Defendants, by a date certain, to update the Website,

             and continue to monitor and update the Website on an ongoing basis, to

             remove barriers in order that individuals with visual disabilities can access,

             and continue to access, the Website and effectively communicate with the

             Website to the full extent required by Title III of the ADA;

       C. An Order requiring Defendants, by a date certain, to clearly display the

             universal disabled logo within the Website, wherein the logo1 would lead

             to a page which would state Defendants’ accessibility information, facts,

             policies, and accommodations. Such a clear display of the disabled logo is

             to ensure that individuals who are disabled are aware of the availability of




 1
                      or similar.
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          the accessible features of the Website;

        D. An Order requiring Defendants, by a date certain, to provide ongoing

           support for web accessibility by implementing a Website accessibility

           coordinator, a Website application accessibility policy, and providing for

           Website accessibility feedback to ensure compliance thereto;

        E. An Order directing Defendants, by a date certain, to evaluate their policies,

           practices and procedures toward persons with disabilities, for such

           reasonable time to allow Defendants to undertake and complete corrective

           procedures to their Website;

        F. An Order directing Defendants, by a date certain, to establish a policy of

           web accessibility and accessibility features for the Website to ensure

           effective communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who

           participate on Defendants’ Website to be fully accessible to the visually

           disabled;

        H. An Order directing Defendants, by a date certain and at least once yearly

           thereafter, to provide mandatory web accessibility training to all

           employees who write or develop programs or code for, or who publish

           final content to, the Website on how to conform all web content and

           services    with   ADA     accessibility   requirements    and    applicable


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           accessibility guidelines;

        I. An Order directing Defendants, by a date certain and at least once every

           three months thereafter, to conduct automated accessibility tests of the

           Website to identify any instances where the Website is no longer in

           conformance with the accessibility requirements of the ADA and any

           applicable accessibility guidelines, and further directing Defendants to

           send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

           review;

        J. An Order directing Defendants, by a date certain, to make publicly

           available and directly link from the Website homepage, a statement of

           Defendants’ Accessibility Policy to ensure the persons with disabilities

           have full and equal enjoyment of the Website and shall accompany the

           public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses;
           and

        L. Such other and further relief as the Court deems just and equitable.




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 DATED: January 31, 2025.



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